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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON


CRYSTAL GOOD, individually and as parent
and next friend of minor children M.T.S.,
N.T.K., and A.M.S., and MELISSA JOHNSON,
individually and as a parent of an unborn
child T.A.J., and JOAN GREEN and SUMMER
JOHNSON and MARY LACY and WENDY RENEE RUIZ
and KIMBERLY OGIER and ROY J. McNEAL and
GEORGIA HAMRA and MADDIE FIELDS and BRENDA
BAISEDN, d/b/a FRIENDLY FACES DAYCARE, and
ALADDIN RESTAURANT, INC. and R.G. GUNNOE
FARMS LLC and DUNBAR PLAZA, INC., d/b/a
DUNBAR PLAZA HOTEL, on behalf of themselves
and all others similarly situated,

                 Plaintiffs,

v.                                       Civil Action No. 2:14-cv-1374

WEST VIRGINIA-AMERICAN WATER COMPANY,
d/b/a WEST VIRGINIA AMERICAN WATER, and
AMERICAN WATER WORKS SERVICE COMPANY, INC.
and AMERICAN WATER WORKS COMPANY, INC. and
EASTMAN CHEMICAL COMPANY and GARY SOUTHERN
and DENNIS P. FARRELL,

                 Defendants.


                                   ORDER


           The court has received the written agreement specified

at pages twenty to twenty-three of the order entered herein on

December 30, 2021, from each of the following five watershed

associations, each executed by the chief executive officer and

treasurer, as follows: Buffalo Creek Watershed Improvement

Association; Coal River Group; Davis Creek Watershed
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Association; Morris Creek Watershed Association, Inc.; and Paint

Creek Watershed Association.


           The court is also in receipt of the written agreement

of The West Virginia Land Trust as contemplated at pages twenty-

three and twenty-four of the order entered herein on December

30, 2021, signed by its executive director, Brent Bailey.


           It is ORDERED that the six agreements described above

be, and hereby are, filed with the Clerk of Court.


           It is further ORDERED that the Settlement

Administrator, Smith, Cochran & Hicks, make disbursement of the

cy pres funds as directed in the court’s order of December 30,

2022, as follows:

     Buffalo Creek Watershed Improvement
     Association.................................$105,142.50

     Coal River Group............................$105,142.50

     Davis Creek Watershed Association...........$105,142.50

     Morris Creek Watershed Association, Inc.....$105,142.50

     Paint Creek Watershed Association...........$105,142.50

     The West Virginia Land Trust................$420,571.00


           The court notes that the remaining intended cy pres

recipient, Fourpole Creek Watershed Improvement Association, has

furnished its agreement signed by its “Chairman” who

acknowledges his role as Chairman as limited.          The court awaits


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receipt of a duly executed resolution by the governing Board of

Fourpole Creek Watershed Improvement Association that authorizes

the Chairman to enter into the agreement on behalf of Fourpole

Creek Watershed Improvement Association.


           The Clerk is requested to transmit copies of this

order to all counsel of record and any unrepresented parties.


                                         ENTER: August 17, 2022




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